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                    14                     IN THE UNITED STATES DISTRICT COURT
                    15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                    16                                   EASTERN DIVISION
                    17
                         RAUL NOVOA, individually and on            Civil No. 5:17-cv-02514-JGB-SHKx
                    18   behalf of all others similarly situated,
                                                                    REPLY TO PLAINTIFF’S
                    19                Plaintiff,                    OPPOSITION TO DEFENDANT
                                                                    THE GEO GROUP, INC.’S
                    20         v.                                   MOTION TO DISMISS
                                                                    PLAINTIFF’S FIRST AMENDED
                    21                                              COMPLAINT FOR
                         THE GEO GROUP, INC.,                       DECLARATORY AND
                    22                                              INJUNCTIVE RELIEF AND
                                      Defendant.                    DAMAGES
                    23
                                                                    Date: August 20, 2018
                    24                                              Time: 9:00 am.
                                                                    Courtroom: 1
                    25                                              Judge: The Honorable Jesus G. Bernal
                    26

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                                                                    FAC Filed: July 6, 2018
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                     1            The GEO Group, Inc. (“GEO”) offers this reply supporting its Motion to
                     2   Dismiss Plaintiff’s First Amended Complaint (“Motion” or “Mot.”). Plaintiff’s
                     3   Opposition (or “Opp.”) highlights the fundamental contradiction he faces in this
                     4   Court: in order to succeed, he must argue both that GEO has no immunity based on
                     5   a disputed interpretation of GEO’s contract with ICE and that ICE need not be
                     6   joined because the relief he seeks will be consistent with the contract.
                     7            But Plaintiff cannot have it both ways. If avoiding immunity under Yearsley
                     8   v. W.A. Ross Constr. Co., 309 U.S. 18 (1940), means the Court must construe
                     9   GEO’s contract, then ICE is an indispensable party, because if it is not joined, GEO
                    10   risks facing obligations under state law that it cannot fulfill under its contract. But
                    11   if avoiding that joinder issue means the Court need not construe the contract, then
                    12   ICE’s authorization to administer the VWP and its prohibition on employing
                    13   detainees is plain. To avoid both of these problems, Plaintiff—a non-signatory to
                    14   GEO’s contract—must prove not only that the contract unambiguously means
                    15   something other than what it unambiguously says, but also that both signatories to
                    16   the contract have misunderstood that plain meaning for years. For that reason, and
                    17   because Plaintiff’s claims rely on statutes that do not apply to GEO’s administration
                    18   of federal detention facilities, this Court should dismiss this case in its entirety.
                    19   I.       THE COURT LACKS SUBJECT MATTER JURISDICTION.
                    20            A.    GEO’s Motion Is Proper Under Rule 12.
                    21            Plaintiff’s argument (Opp., 4-5) that this Court must treat GEO’s motion to
                    22   dismiss as a motion for summary judgment is incorrect. Adducing facts in support
                    23   of a Rule 12(b)(1) dismissal is both permissible and common. See, e.g., Tam v.
                    24   United States, 905 F. Supp. 2d 1221, 1226-27 (W.D. Wash. 2012). And it is
                    25   similarly well-established that where a complaint “refers extensively to [a]
                    26   document,” that document may be considered on a motion to dismiss. E.g., Lazy Y
                    27   Ranch Ltd. v. Behrens, 546 F.3d 580, 588 (9th Cir. 2008).
                    28            GEO’s Motion therefore falls well within the bounds of Rule 12.                The
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                     1   Complaint refers extensively to the contract that governs GEO’s administration of
                     2   the VWP at Adelanto. First Am. Compl. (“FAC”), ECF 47, ¶¶ 3-4, 25, 28, 49-50.
                     3   In its Motion, GEO explained that Plaintiff’s claims fail under Yearsley because
                     4   they attack conduct that is directly authorized by that contract, as well as by
                     5   pertinent statutes and regulations.   Mot., 12-16. 1   Likewise, GEO’s Rule 19
                     6   argument turns not on external evidence, but on whether this Court can interpret
                     7   allegedly ambiguous contract terms to reach a conclusion that plainly flouts ICE’s
                     8   expectations—and do so without joining ICE. See FAC ¶ 20, 30-33, 37 (alleging
                     9   that ICE and GEO together maintain “harsh conditions of confinement” for
                    10   detainees).   Because those arguments turn exclusively on the complaint and
                    11   documents to which it refers, GEO’s motion is properly considered under Rule 12.
                    12         B.      GEO Is Immune From This Suit Because ICE Validly Authorized
                    13                 The Challenged Actions.
                    14         As the Motion set forth, government contractors are immune from any suit in
                    15   which (1) the alleged wrongful actions were authorized by the federal government,
                    16   and (2) that authorization was constitutionally valid. Mot., 12 (citing Cunningham
                    17   v. Gen. Dynamics Info. Tech., Inc., 888 F.3d 640, 646 (4th Cir. 2018)). The
                    18   Yearsley doctrine embodies a simple principle: when a contractor acts with valid
                    19   authorization, “there is no liability [for] simply perform[ing] as the Government
                    20   directed.” Cunningham, 888 F.3d at 646 (quoting Campbell-Ewald Co. v. Gomez,
                    21   136 S. Ct. 663, 673 (2016)) (quotations omitted).
                    22         Yearsley immunity bars Plaintiff’s claims. First, GEO’s administration of the
                    23   VWP at Adelanto is expressly authorized by ICE, which requires GEO to
                    24   administer a VWP that complies with the PBNDS, see ICE-GEO Contract, ECF 48-
                    25   2, Ex. B, at 8 (“ICE-GEO Contract”), and provides that the “Detainee Work
                    26   Program Reimbursement” is $1.00 per day per detainee, see id. at 3. GEO complies
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                    28     GEO intends to provide a copy of its contracts, with confidentiality redactions,
                         once a protective order is entered in this case.
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                     1   with these provisions to the letter: it offers a VWP to detainees who then receive
                     2   $1 per day for participating. See FAC ¶ 5. Thus, GEO meets the first prong of the
                     3   Yearsley test.
                     4            Resisting that simple conclusion, Plaintiff argues that ICE has not authorized
                     5   GEO’s administration of the VWP because ICE did not explicitly dictate that GEO
                     6   pay precisely $1 per day.         Opp., 9.    That argument misses the point:       as
                     7   Cunningham makes clear, Yearsley applies whether or not the government has
                     8   explicitly dictated a challenged action, as long as the action taken is “permitted”
                     9   under the contract. E.g., Cunningham, 888 F.3d at 647 (immunity applies unless
                    10   challenged actions violate the contract). Here, whether or not GEO could pay
                    11   more, it is beyond fair dispute that the $1 rate it does pay is consistent with all
                    12   relevant federal requirements, and what ICE pays at the facilities that it runs
                    13   directly. E.g., PBNDS 5.8.V.K (authorizing pay of “$1 per day” at all facilities);
                    14   ICE Nat’l Detainee Handbook, ECF 48-2, Ex. C, at 17 (explaining to detainees that
                    15   they will receive “$1 per day work (not per work assignment)”).
                    16            Nor has Plaintiff plausibly alleged or argued that ICE has discretion to
                    17   subject the VWP to state employment law. To the contrary, as the Motion made
                    18   clear, Mot., 14-15, ICE and GEO have long shared an understanding that detainee
                    19   pay would be limited to the $1 per day. For decades, VWP allowances have been
                    20   limited to $1 per day, and detainees have never before been treated as employees of
                    21   a detention facility. Id. at 14-15, 17. Once again, ICE’s contract terms express this
                    22   understanding exactly.       ICE-GEO Contract, 3 (describing $1 rate); id. at 8
                    23   (“Detainees shall not be used to perform the responsibilities or duties of an
                    24   employee of the Service Provider.”).
                    25            Plaintiff’s argument that ICE lacked authority to set detainee pay is even
                    26   more problematic. As the Motion explained, Mot., 16-17, Congress authorized
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                     1   appropriations for INS (now ICE) 2 “now and hereafter” for purposes that included
                     2   “payment of allowances … to aliens, while held in custody under the immigration
                     3   laws, for work performed.” 8 U.S.C. § 1555(d) (emphasis added). While Congress
                     4   directed that the rate of such allowances “may be specified [by Congress] from time
                     5   to time in the appropriation Act involved,” Congress has declined to specify any
                     6   new rate for decades, instead choosing to continue to approve ICE’s budgets, which
                     7   use the $1 rate. Mot., 17. Thus, ICE has the authority to administer the VWP at the
                     8   rate set by Congress.
                     9         Plaintiff responds by suggesting that ICE cannot follow Congress’s most
                    10   recent allowance rate because the 1979 appropriations bill has expired. See Opp.,
                    11   11-13. Plaintiff argues that Congress’s 1979 cessation of direct appropriations for
                    12   allowances with an attached rate did not “suddenly” or “silently” delegate authority
                    13   to ICE to set detainee pay. Opp., 13. Thus, Plaintiff argues, ICE lacks authority to
                    14   administer the VWP at all. Id.
                    15         That argument finally gives up the ghost: what Plaintiff seeks is a judgment
                    16   that invalidates not just GEO’s administration of the VWP, but ICE’s authority to
                    17   operate the VWP in the first place. But it is black-letter law that the United States
                    18   is an indispensable party in any challenge to a federal program. See Fed. R. Civ. P.
                    19   19(a)(1)(B)(i); Two Shields v. Wilkinson, 790 F.3d 791, 796-97 (8th Cir. 2015)
                    20   (holding that the United States is a required party wherever suit challenges “federal
                    21   interest[] in administering” federal program); McCowen v. Jamieson, 724 F.2d
                    22   1421, 1423-24 (9th Cir. 1984) (same); see also Rep. of Philippines v. Pimentel, 553
                    23   U.S. 851, 867 (2008) (“A case may not proceed when a required-entity sovereign is
                    24   not amenable to suit.”) (emphasis added). This case should therefore be dismissed
                    25   under Rule 19. See infra pp. 5-8.
                    26   2
                           ICE inherited all INS functions relating to detention and removal as part of the
                    27   Homeland Security Act of 2002. See 6 U.S.C. §§ 251, 551(d); Reorganization Plan
                    28   Modification For The Dep’t Of Homeland Sec., H.R. Doc. No. 108-32, at 3 (2003).
                         This transfer covers the appropriations power granted by 8 U.S.C. § 1555(d).
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                     1            Moreover, even for Yearsley purposes, Plaintiff’s argument is incorrect.
                     2   Section 1555 is a standing authorization for ICE to use its appropriations “now and
                     3   hereafter” for the payment of allowances to detainees.         8 U.S.C. § 1555(d).
                     4   Therefore, Congress’s decision not to assign a specific rate each year does not
                     5   prevent ICE from paying allowances at a rate that Congress has already specified.
                     6   Any other reading of Section 1555 would be absurd: ICE would have standing
                     7   authority to use its appropriations to pay allowances, but it would be prevented
                     8   from actually doing so unless Congress tells it this year how much they should
                     9   be—even though Congress itself said that if it provided such guidance at all, it
                    10   would do so only “from time to time.” 8 U.S.C. § 1555(d).
                    11            Finally, Plaintiff does not dispute that his TVPA claims are also subject to
                    12   Yearsley.     See Mot., 15-16.    GEO’s administration of the VWP at Adelanto
                    13   complies with ICE’s requirements, thereby immunizing GEO from liability arising
                    14   from that administration. Plaintiff has neither alleged nor argued otherwise.
                    15            In sum, ICE authorizes GEO to operate a VWP, but not to treat detainees as
                    16   employees. Moreover, that authorization is valid. To the extent Plaintiff argues
                    17   otherwise, it is only by challenging the validity of a federal program—thereby
                    18   effectively conceding that this case cannot proceed without joining the United
                    19   States.
                    20   II.      ICE IS INDISPENSABLE TO THIS CASE.
                    21            As GEO explained in its Motion, ICE is an indispensable party to this case.
                    22   GEO maintains a VWP at Adelanto because it is required to do so under its
                    23   contract, the terms of which are set by ICE. Mot., 18-22. Plaintiff now maintains
                    24   that its challenge should stand in part because ICE’s own administration of the
                    25   VWP is unlawful. Moreover, the judgment Plaintiff seeks would bind GEO—but
                    26   not ICE—to the conclusion that compliance with those terms is employment or
                    27   forced labor. Id. This action therefore implicates ICE’s core interests and threatens
                    28   to leave GEO with inconsistent obligations unless ICE is joined.
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                     1            Rule 19 deems “necessary” any party whose “ability to protect” their
                     2   “interest relating to the subject of the action” might be “impede[d]” by a disposition
                     3   in their absence. See Mot. 21-22. It further provides that an action must be
                     4   dismissed if an “indispensable” party cannot be joined. Id. The United States is
                     5   indispensable in this action, because Plaintiff has now explicitly challenged the
                     6   authority of the United States to carry out the VWP program. See supra p. 4-5.
                     7            ICE is also indispensable because its contract with GEO prohibits treating
                     8   detainees as its employees and employing unauthorized aliens, but a judgment for
                     9   Plaintiffs would require just that without joining ICE. FAC, Prayer (e)-(f) (seeking
                    10   declaratory and injunctive relief); ICE-GEO Contract, 8; see also Exec. Order No.
                    11   12,898, 61 Fed. Reg. 6091 (Feb. 15, 1996). This case is therefore indistinguishable
                    12   from E.E.O.C. v. Peabody, 610 F.3d 1070, 1081 (9th Cir. 2010), in which the Ninth
                    13   Circuit held that a federal agency was an indispensable defendant in an action
                    14   against the contractor because, if the plaintiff won, the agency would remain
                    15   unbound by a judgment that construed a disputed contract provision.
                    16            Likewise, any injunction affecting GEO’s management of detainees aimed at
                    17   addressing Plaintiff’s various forced labor theories makes ICE a required party. See
                    18   Mot., 22. Such an order would likely affect GEO’s ability to comply with ICE’s
                    19   many staffing and other administration requirements. More fundamentally, ICE
                    20   itself, as part of the Department of Homeland Security, is one of the agencies tasked
                    21   with enforcing the TVPA, 22 U.S.C. § 7103(b), and its current Detainee Handbook
                    22   includes, on the second page, instructions for detainees to report any illegal activity
                    23   to    ICE    itself.    ICE   Nat’l   Detainee   Handbook,      at   2,   (rev.   2016)
                    24   (https://www.ice.gov/sites/default/files/documents/Document/2017/detainee-
                    25   handbook.PDF). Plaintiff’s request that this Court apply the trafficking laws that
                    26   ICE itself administers against an ICE contractor’s actions in an ICE facility—in
                    27   obvious contravention of ICE’s own expectations—further establishes that ICE is a
                    28   necessary and indispensable party.
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                     1            Plaintiff does not meaningfully rebut any of these arguments. His claim that
                     2   this case will, “[a]t most, … affect the profitability of GEO’s operations at the
                     3   Adelanto Facility,” see Opp., 15, is belied by the expansive scope of his claims.
                     4   Plaintiff explicitly seeks injunctive and declaratory relief, see FAC, Prayer (e)-(f),
                     5   as well as damages for what amount to criminal allegations against GEO, see FAC
                     6   ¶¶ 104-20.      A judgment in his favor would fundamentally rewrite the ICE-
                     7   sanctioned practices currently in place at Adelanto, adjudicate ICE’s interpretation
                     8   of the TVPA, and—as Plaintiff’s opposition now makes clear—invalidate ICE’s
                     9   own administration of its programs. Plaintiff argues that ICE has no interest in this
                    10   case merely because it has not voluntarily joined itself, see Opp., 16-17, but
                    11   Supreme Court precedent forecloses the Catch-22 proposition that a sovereign must
                    12   waive its immunity in order to be indispensable. E.g., Philippines, 553 U.S. at 867.
                    13   Plaintiff has therefore done nothing to rebut GEO’s argument that ICE must be
                    14   joined. And because it is black-letter law that a “required-entity” sovereign is per
                    15   se “indispensable,” id., this case should be dismissed under Rule 19.
                    16            Plaintiff relies heavily on interlocutory orders from Chen (now captioned
                    17   Nwauzor, owing to the substitution of plaintiffs), but nothing in that case is to the
                    18   contrary. See Opp., 16-17 (citing Order, Nwauzor v. The GEO Grp., Inc., No. 17-
                    19   cv-05769 (W.D. Wash. filed Apr. 26, 2018), ECF No. 67).             In Nwauzor, the
                    20   plaintiffs sought only backpay under a state minimum wage act and not declaratory
                    21   or injunctive relief; they did not file any claims under the TVPA or any other
                    22   federal law, and they never claimed (as Plaintiff now does) that ICE itself cannot
                    23   lawfully operate the VWP. See First Am. Compl., 5 Nwauzor, No. 17-cv-05769
                    24   (W.D. Wash. filed June 13, 2018), ECF No. 84). Thus, even if ICE was not
                    25   indispensable in Nwauzor—which GEO disputes—that conclusion has little bearing
                    26   here.
                    27   III.     PLAINTIFF FAILS TO STATE FORCED LABOR CLAIMS.
                    28            As GEO explained in its Motion, Plaintiff’s allegations relating to forced
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                     1   labor fail under the trafficking statutes he cites. Mot., 27-29. As the Motion set
                     2   forth, both the federal and state TVPA statutes prohibit the knowing and
                     3   intentional coercion of labor. Id. at 27-28 (citing sources). Plaintiff’s allegations
                     4   do not establish knowing coercion by GEO.
                     5            Plaintiff seeks to establish a TVPA violation by raising two distinct sets of
                     6   allegations. The first set, which pertains to the alleged withholding of food, water,
                     7   and other necessities, see FAC ¶¶ 59-67, fails to support a conclusion that to the
                     8   extent such necessities were withheld, they were withheld for the purpose of
                     9   coercing Plaintiff to participate in the VWP. Indeed, Plaintiff admits that the
                    10   connection between the two was entirely his own. See, e.g., FAC ¶ 63 (claiming
                    11   that his survival turned on buying food and water from the commissary). His
                    12   allegations therefore do not suffice to state a forced labor claim.
                    13            The second set of allegations fares no better. Plaintiff claims that he was
                    14   personally threatened with punishments if he failed to participate in the VWP—but
                    15   he nowhere alleges that GEO or its officers did the threatening. He alleges, for
                    16   example that “officers” threatened him with disciplinary segregation “if he stopped
                    17   working.” FAC ¶ 68. Even were this allegation sufficiently concrete to establish
                    18   specific conduct by GEO personnel, Plaintiff offers no grounds at all to infer that
                    19   GEO knew about or intended to benefit from such actions by those unspecified
                    20   officers. See FAC ¶¶ 108-09, 113-114. Because Plaintiff offers no grounds to
                    21   attribute the actions of any individual “officer” to GEO itself—and has not even
                    22   alleged that the “officer” who threatened him worked for GEO, rather than for ICE
                    23   or another ICE contractor, see FAC ¶¶ 68-70—his allegations do not state a forced
                    24   labor claim against GEO.
                    25            Plaintiff’s Opposition does nothing to avoid any of these problems. He
                    26   claims only that his allegations suffice because he “was under the exclusive control
                    27   of GEO.” Opp., 20-21. But Plaintiff has not—and could not—allege that, because
                    28   GEO operates the Adelanto facility under ICE supervision. Moreover, even if
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                     1   taken as true, Plaintiff’s claim does nothing to attribute the alleged actions of any
                     2   unnamed “officer” to GEO itself. Consequently, Plaintiff’s forced labor claims
                     3   should be dismissed, as well.
                     4   IV.      THE    STATUTES        PLAINTIFF        SEEKS       TO     ENFORCE         ARE
                     5            UNCONSTITUTIONALLY VAGUE AS APPLIED HERE.
                     6            As GEO explained in its Motion, the trafficking statutes underlying
                     7   Plaintiff’s claim are unconstitutionally vague as applied here because they penalize
                     8   conduct that is not only authorized but even required by the federal agency charged
                     9   with enforcing such statutes. GEO’s administration of the VWP complies with
                    10   ICE’s contract terms and the PBNDS. See Mot. 29-31; supra 2-3. GEO now faces
                    11   liability under a state wage law that has never been held by a judgment to apply in
                    12   this context, that does not apply in state-run facilities, that conflicts with the federal
                    13   government’s interpretation of its authority and settled practice, and that extends
                    14   beyond an essentially identical federal labor law that was held to be inapplicable
                    15   long ago.      Likewise, GEO faces liability under trafficking statutes that are
                    16   essentially criminal merely for carrying out ICE’s own directives under ICE’s own
                    17   watch, even though ICE itself enforces such laws. Plaintiff’s claim takes these laws
                    18   well beyond their proper sphere. Consequently, the laws underlying Plaintiff’s
                    19   claim gave GEO no fair notice that any of its alleged conduct was forbidden, such
                    20   that they are unconstitutionally vague in this context. See F.C.C. v. Fox Television
                    21   Stations, Inc., 567 U.S. 239, 253 (2012) (explaining that the vagueness doctrine
                    22   aims in part to ensure that “regulated parties … know what is required of them so
                    23   they may act accordingly”).
                    24            Plaintiff’s response attacks a straw man. He argues that GEO’s argument
                    25   amounts to a “self-serving theory that a private corporation cannot be held liable for
                    26   a violation of law unless it was first notified by a state or federal agency of the
                    27   violation.” Opp., 23. GEO instead contends that liability under these statutes is
                    28   improper because (i) it has for years engaged in the very practices Plaintiff attacks
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                     1   at the direction of the federal government, and (ii) the State of California engages
                     2   in conduct materially identical to the conduct challenged here. See Mot. 30-31.
                     3   Under such circumstances, Plaintiff cannot plausibly contend that GEO was on
                     4   notice that the challenged conduct—in which both the state and federal
                     5   governments themselves engage—was illegal under state and federal law.
                     6   V.       GEO’S REMAINING ARGUMENTS ARE VALID AND PROPER.
                     7            Plaintiff does not meaningfully respond to any of the remaining arguments
                     8   GEO raised in its Motion. See Opp., 24-25. Instead, he argues summarily that the
                     9   Court’s rulings on a superseded complaint are “law of the case” and incorporates
                    10   his prior briefs. Id. The first contention is wrong, and the second is inappropriate.
                    11   GEO was entitled to move to dismiss on all grounds that apply to this case, and the
                    12   Court can and should consider each.
                    13            A.    GEO’s Other Arguments Are Not Barred By Law Of The Case.
                    14            An amended complaint supersedes the original complaint. Barnes v. Sea
                    15   Hawaii Rafting, LLC, 889 F.3d 517, 531 (9th Cir. 2018). Consequently, this Court
                    16   has issued no order that the FAC has stated a claim on which relief may be granted.
                    17   See, e.g., Janis v. United States, 2011 WL 4738315, at *2 (E.D. Cal. Oct. 6, 2011)
                    18   (amended complaint mooted prior allegations and thus any rulings as to whether a
                    19   claim had been stated). And, absent an express entry of a final judgment, all orders
                    20   of a district court are “subject to reopening at the discretion of the district judge.”
                    21   Cf. Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 12 (1983);
                    22   Fed. R. Civ. P. 54(b). Until such a final order is entered, this Court’s interlocutory
                    23   orders do not become law of the case, and the Court can decide the novel issues
                    24   presented here on different grounds. See, e.g., Rezek v. City of Tustin, 2014 WL
                    25   3347860, at *2 (C.D. Cal. July 3, 2014).
                    26            Further, GEO has not merely “rehashe[d] the exact same arguments it already
                    27   raised.” Opp., 25. To the contrary, it has responded to the Court’s prior order and
                    28   explained why this Court should reach a different result.         See, e.g., Mot., 24
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                     1   (arguing that the Court improperly framed the preemption question in its prior
                     2   order). GEO therefore respectfully requests the Court’s consideration as to all the
                     3   grounds for dismissal raised in its Motion. To the extent further argument is
                     4   warranted, GEO addresses select arguments briefly below.
                     5            B.    Plaintiff’s Claims are Preempted.
                     6            In its prior Order, this Court held that Plaintiffs’ claim could continue
                     7   because Congress had not occupied the field of detainee wages. Order, ECF 44, at
                     8   5. The proper field of regulation is detainee employment and work, Mot., 24-25,
                     9   which Congress exhaustively regulates. The Immigration Reform and Control Act
                    10   and its enacting regulations show that work authorization terminates when removal
                    11   proceedings are instituted and that lawful permanent resident status terminates
                    12   when a final removal order issues. 8 U.S.C. § 1324a. 8 C.F.R. §§ 274a.14,
                    13   1001.1(p). Thus, detainees at Adelanto are categorically prohibited from being
                    14   employees.      That result, coupled with Congress’s explicit authorization of
                    15   allowances—not wages—to detainees, 8 U.S.C. § 1555(d), shows that Congress has
                    16   occupied the field of detainee work and left no room for state law to create labor-
                    17   law rights in favor of a specific group of individuals whose work has been
                    18   thoroughly regulated by Congress.
                    19            C.    Plaintiff Has Stated No Wage Claim Under California Law.
                    20            This Court previously held that the Public Housekeeping Order, Cal. Code
                    21   Regs. tit. 8 § 11050, can apply to federal immigration detainees. Order, 8-12.
                    22   GEO’s Motion explains that detainees cannot meet the employment test devised by
                    23   the Ninth Circuit to address the same question in essentially the same context. See
                    24   Mot., 26-27 (discussing Hale v. Arizona, 993 F.2d 1387 (9th Cir. 1993)). The
                    25   Ninth Circuit’s logic applies forcefully here, and the Court should hold that
                    26   detainees are not employees under California law.
                    27            D.    Plaintiff’s Remaining Claims Fail.
                    28            Finally, Plaintiff’s unjust enrichment claim and his derivative UCL claim
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                     1   both fail for the reasons stated in GEO’s Motion.
                     2   VI.      CONCLUSION
                     3            The Court should grant GEO’s Motion and dismiss this case with prejudice.
                     4

                     5   Dated:         August 6, 2018          NORTON ROSE FULBRIGHT US LLP
                     6
                                                                By /s/ Lesley Holmes
                     7                                             LESLEY HOLMES
                                                                  Attorney for The GEO Group, Inc.
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